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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

                                          )
United States of America                  )
                                          )        No. 18 CR 522
      v.                                  )
                                          )        Judge John Robert Blakey
Xavier Travis                             )

            DEFENDANT XAVIER TRAVIS’S SENTENCING MEMORANDUM

      Mr. Travis stands before this Court after pleading guilty to the possession of

three firearms provided by undercover agents and doing so with a felony conviction

in his own background. He accepts responsibility for his actions and he knows that

the punishment will involve incarceration. He asks, however, that the Court balance

the need for punishment with his individual history and characteristics, and the

particular circumstances of this unusual case. Mr. Travis, by the Federal Defender

Program and its attorney, Amanda G. Penabad, respectfully requests that the Court

impose a sentence of 54 months’ imprisonment, to be followed by three years

of supervised release. Such a sentence is sufficient, but not greater than necessary

to fulfill the statutory sentencing objectives found in 18 U.S.C. § 3553(a) and as

explained by the Supreme Court in Gall v. United States, 552 U.S. 38 (2007), and

Kimbrough v. United States, 552 U.S. 85 (2007).




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                               FACTUAL BACKGROUND

      Mr. Travis does not deny that he possessed firearms in violation of the law and

that such a firearm offense is a serious charge. But, as in most cases that are the

result of ATF reverse sting operations, Mr. Travis believes that the context of the

offense is relevant to informing the Court’s understanding of his conduct and the

appropriate punishment.

      In the summer of 2018, the ATF, through a confidential informant, learned

that Mr. Travis had access to small quantities of drugs. The agents approached Mr.

Travis about buying a gram or two of drugs on a handful of occasions, and eventually

about trading other items for drugs, such as electronics and car parts. In August 2018,

the agents proposed trading Mr. Travis a flat screen television for drugs. PSR ¶12.

Shortly after, the agents told Mr. Travis that they had access to other valuable items,

including firearms. Prior to the undercover agent’s statement that he had access to

guns, Mr. Travis never mentioned a desire to purchase weapons, or a need for a gun.

Over the course of the month, the agents repeatedly reached out to Mr. Travis to try

to conduct a transaction of drugs for guns. On August 27, 2018, Mr. Travis agreed to

meet with agents to trade drugs for firearms, and was arrested when he took

possession of the weapons at the ATF warehouse.

      The government and Probation Office advocate for a mechanical application of

the guidelines in this case, including enhancements for the alleged nature of one of

the firearms in question. But the unusual facts of this case, particularly the reverse-

sting nature of the operation, call for a closer examination of the facts to determine



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the appropriate measure of punishment. When, as here, law enforcement plays an

active role in shaping the contours of the crime, and thus the potential punishment,

the Court should closely scrutinize the defendant’s actions to determine a true

measure of culpability and the sentence that is sufficient, but not greater than

necessary.

         As detailed further below, the video and audio recordings made in the course

of this sting operation demonstrate that Mr. Travis not the hardened, dangerous

criminal that the government seeks to present him as. A number of his actions and

statements demonstrate that, although Mr. Travis did agree to trade for firearms, he

did not seek out, nor did he have access to, the kind of gun that the ATF offered him.

Nor is there evidence that Mr. Travis had any knowledge of the character of that

firearm. The evidence shows that when the agents presented Mr. Travis with the MP-

5, Mr. Travis had no familiarity with the weapon. Upon seeing the gun for the first

time, Mr. Travis had to ask the agents what it was. See Agent Bodycamera, Aug 15,

2018 at 16:36:52.1 When they offered him a fully automatic version of the weapon,

Mr. Travis declined. Id. at 16:39:15. When he was offered silencers and an extended

magazine, Mr. Travis told the agents that he was “not big on 30-shot clips.” Id. at

16:42:10. And when asked what he would do with the weapon, Mr. Travis told the

agents that he “didn’t have a need for guns” but kept them “for a rainy day,” because

“you don’t come across shit like this all the time.” Id. The agents played up the rare

nature of the weapon, telling Mr. Travis that they had a connection on a military base



1   The defense plans to provide the excerpts cited herein at the sentencing hearing.

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to obtain the firearm, which was not generally commercially available. In short, the

agents both presented Mr. Travis with the opportunity to buy a weapon that he

otherwise never would have had access to and misled him regarding the nature of

that firearm. The government now seeks to rely on the characteristics of that weapon

to significantly enhance Mr. Travis’s ultimate sentence.

        Mr. Travis does not argue that he is not responsible for his actions or that he

did not agree to purchase the firearms. He understands that he made the choice to

accept the deal and must accept the consequences of his actions. But he asks the

Court to consider the context of the offense and the fact that he did not have

knowledge of the properties of the firearm at issue, nor did he seek it out, nor could

he have accessed such a firearm but for the intervention of the ATF agents, in its

consideration of sentence. The guidelines presented by the government represent an

inequitable application of sentencing principles, and a sentence that is greater than

necessary given the particular facts and circumstances of Mr. Travis’s case. For the

reasons that follow, Mr. Travis submits that a sentence of 54 months is appropriate

under the §3553(a) factors.

                                     DISCUSSION

   I.      THE ADVISORY GUIDELINES AND PSR; 18 U.S.C. § 3553(a)(4)

        The Supreme Court has instructed sentencing courts to begin by properly

calculating the advisory guideline range. See Gall, 552 U.S. at 49. In this case, the

Probation Office calculated a total offense level of 23. Combined with Mr. Travis’s

criminal history category of V, it is the Probation Office’s position that the advisory



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guidelines range is 84 to 105 months’ incarceration. Mr. Travis objects to this

calculation.

      A. The Base Offense Level

      The Presentence Report and the government’s version each assert that the

appropriate base offense level is 20, although for different reasons. Mr. Travis

disagrees with both parties. He argues that the government has failed to meet its

burden to substantiate the base offense level, and that even if the Court finds

otherwise, the Section 3553(a) factors counsel a sentence in line with a reduced base

offense level. Mr. Travis submits that the proper base offense level is 14, pursuant to

§2K2.1(a)(6), because Mr. Travis was a prohibited person at the time of the offense.

          1. The Government’s Version Regarding Base Offense Level.

      According to the government’s version, the base offense level is 20 pursuant to

§2K2.1(a)(4)(B), because (1) Mr. Travis was a prohibited person at the time of the

offense and (2) the offense included a firearm capable of accepting a high-capacity

magazine. See Government Version at 7, attached to PSR; PSR ¶13. While the MP-5

involved in the offense is theoretically capable of accepting a high-capacity magazine,

the Guidelines require more in order for this base offense level to be properly applied.

      Application Note 2 to Section 2K2.1 makes it clear that the enhanced base

offense level should only apply where “A) the firearm had attached to it a magazine

or similar device that could accept more than 15 rounds of ammunition; or (B) a

magazine or similar device that could accept more than 15 rounds of ammunition was

in close proximity to the firearm.” (Emphasis added.) As noted in the PSR, the case



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agent did not provide any such information documenting the presence of a high-

capacity magazine prior to the finalization of the PSR. PSR ¶14. Nor was any such

allegation included in the supplement issued on January 13, 2020. See Supplemental

Report, Dkt # 76. None of the ATF reports regarding Mr. Travis’s arrest, nor the gun

and trace reports provided in discovery document any high-capacity ammunition. Nor

is a high-capacity magazine visible on any of the surveillance or body camera footage.

To date, the government has not provided the Court with any evidence that the

firearm in question had attached or in close proximity to it a magazine that held more

than 15 rounds.

      Additionally, the discovery shows that in a conversation nearly two weeks

before Mr. Travis’s arrest, Mr. Travis explicitly stated that he was not interested in

such high-capacity magazines. The agents proposed accessories to Mr. Travis,

including silencers. Mr. Travis told that agents that he did not use 30-round

magazines. See Video, Aug. 15, 2018 at 16:42:10 (“I’m really not big on like 30-shot

clips”). Consequently, the base offense level of 20 should not be applied, as the criteria

has not been met.

          2. The PSR Position Regarding Base Offense Level.

      According to the presentence report, the case agent relayed to the Probation

Office a new basis for asserting the base offense level of 20. See PSR ¶14. According

to the agent, and by adoption, the Probation Office, the base offense level should be

20 pursuant to §2K2.1(a)(4)(B), because (1) Mr. Travis was a prohibited person at the

time of the offense and (2) one of the firearms in question is a firearm described in 26



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U.S.C. §5845(a). PSR ¶14. Mr. Travis submits that the firearm does not qualify as a

gun described in 26 U.S.C. §5845(a).

       Probation’s determination that the firearm falls within 26 U.S.C. §5845(a) is

based on an ATF report provided by the government. In that report, the agent asserts

that the MP-5 handled by Mr. Travis in this case falls within the definition of a

“firearm” in 26 U.S.C. §5845(a).2 Section 5845(a) defines a firearm as:

       “(1) a shotgun having a barrel or barrels of less than 18 inches in length;
       (2) a weapon made from a shotgun if such weapon as modified has an
       overall length of less than 26 inches or a barrel or barrels of less than 18
       inches in length; (3) a rifle having a barrel or barrels of less than 16
       inches in length; (4) a weapon made from a rifle if such weapon as
       modified has an overall length of less than 26 inches or a barrel or
       barrels of less than 16 inches in length; (5) any other weapon, as defined
       in subsection (e); (6) a machinegun; (7) any silencer (as defined in
       section 921 of title 18, United States Code); and (8) a destructive device.

26 U.S.C. § 5845 (emphasis added). The ATF, and by adoption, the Probation Office,

assert that the MP-5 qualifies as a machinegun, and therefore falls within the ambit

of 26 U.S.C. § 5845(a). Mr. Travis denies that the MP-5 is properly classified under

the guidelines as a machinegun.

       Under the National Firearms Act (“NFA”), a machinegun is defined as:

       any weapon which shoots, is designed to shoot, or can be readily restored
       to shoot, automatically more than one shot, without manual reloading,
       by a single function of the trigger. The term shall also include the frame
       or receiver of any such weapon, any part designed and intended solely
       and exclusively, or combination of parts designed and intended, for use
       in converting a weapon into a machinegun, and any combination of parts
       from which a machinegun can be assembled if such parts are in the
       possession or under the control of a person.



2The word “firearm” as defined in the National Firearms Act, 26 U.S.C.A. §§ 5801 et seq., is
much narrower than the colloquial use of the term.
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26 U.S.C. § 5845(b). In the ATF report in question, the examiner concludes that the

MP-5 that the ATF gave to Mr. Travis falls within this definition.

       The agent does not contend that the MP-5 that Mr. Travis handled was capable

of shooting automatically, designed to shoot automatically, or readily restored to

shoot automatically. Rather, the agent contends that the firearm had the “frame or

receiver” of an automatic weapon and therefore qualifies under the statute.3

Essentially, the agent asserts that, even though the weapon as handled by Mr. Travis

was unquestionably not capable of firing automatically at the time he possessed it,

because the stock of the weapon could theoretically be manipulated into a

machinegun with the addition of extra parts, it should therefore be counted as an

automatic firearm under the statute.

       In the report, the examiner acknowledges that the MP-5 gun Mr. Travis

handled had a two-position, semiautomatic trigger group installed, with options of

“safe” or “semi-automatic” fire only, and therefore does not and cannot fire

automatically. Nevertheless, in the course of his examination, the agent proceeded to

seek out a different machinegun trigger group from the ATF National Firearms

Collection and install it on the MP-5. With that new trigger group installed, the




3The frame or receiver is ”[t]hat part of a firearm which provides housing for the hammer,
bolt or breechblock, and firing mechanism, and which is usually threaded at its forward
portion to receive the barrel.” 27 C.F.R. § 479.11. More colloquially, “[a] receiver is similar to
the chassis of a car. It houses the operational parts that make a gun fire, much like a chassis
houses the engine, transmission and other mechanisms necessary to make an automobile
operate. The parts typically housed by a receiver are the gun's firing mechanisms—hammer,
bolt, trigger, sear, and firing pins.” U.S. v. 1,100 Machine Gun Receivers, 73 F. Supp. 2d 1289,
1291 (D. Utah 1999), judgment aff'd, 9 Fed. Appx. 815 (10th Cir. 2001).
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examiner selected the newly-available “automatic” position and fired the weapon

automatically. As a result, he declared the MP-5 to be a machinegun.

      In this case, the Court should find that the application of the machinegun base

offense level is inappropriate for a number of reasons. First, the Supreme Court has

repeatedly held that in all cases prosecuted under the NFA, the government must

prove that the defendant knew the features of the firearm that brought it within the

scope of the Act. Second, analogous guideline provisions demonstrate that the

Commission only intended the enhanced base offense levels to apply where the

firearm was actually equipped with more dangerous features, and the firearm in

question was not capable of automatic fire at the time of the offense. Third, the agents

explicitly told Mr. Travis that the firearm in question was a semi-automatic weapon

and not a fully-automatic weapon, and punishing the offense as a machinegun would

be wholly inequitable. No deterrent purpose is served by punishing the offense as a

machinegun, as Mr. Travis was not aware of the character of the weapon or potential

for conversion, and so could not have corrected his conduct in deference to the law.

          a.    Knowledge of the Character of the Weapon is Required to Apply the
                Enhancement.

      The Court should still decline to apply the enhanced base offense level because

there is no evidence that Mr. Travis knew the weapon to be capable of adaptation to

a fully automatic weapon. The government’s construction of the guidelines suggests

that any semiautomatic weapon with a machinegun’s frame would trigger the

enhanced base offense level, regardless of whether the individual had knowledge of

the potential to convert their weapon to an automatic weapon, or the intention to do

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so. But the Supreme Court has definitively ruled that an individual have knowledge

of the machinegun character of the weapon to trigger liability. In Staples v. United

States, the defendant possessed a semi-automatic weapon that had been modified into

a machinegun by filing away a metal stop inside the receiver. 511 U.S. 600, 603, 114

S. Ct. 1793, 1796 (1994). The defendant claimed ignorance of the weapon’s automatic

capability, and the Supreme Court considered whether the government was required

to prove knowledge of the firearm’s proven automatic capability to sustain the

conviction for the offense of unlawful possession of an unregistered machinegun, 26

U.S.C. §5861(d). The Court rejected the government’s position that knowledge of the

automatic nature of the firearm was not required, and held that the statute should

not be read to criminalize unknowing possession of an automatic weapon. This Court

should likewise apply this requirement of knowledge of the character of the weapon

to the application of the Guidelines here.

      Nothing in the record establishes that Mr. Travis knew the weapon could be

converted into a machinegun. In fact, the discovery in this case demonstrates that

when the agents showed Mr. Travis the MP-5, his reaction was to ask “what the [] is

this?” Agent Bodycamera, Aug 15, 2018 at 16:36:52. The agent asked whether Mr.

Travis had ever seen an MP-5 and told him that the gun was a “nine,” joking to Mr.

Travis that it felt like a BB gun to shoot. The agent never indicated that the weapon

was a machinegun. Instead, the agent explicitly told Mr. Travis that the weapon was

not fully automatic, but rather semi-automatic. See Agent Bodycamera, Aug 15, 2018

at 16:39:00 (“One like that, that’s semi-automatic, every time you pull the trigger?”).



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There is absolutely no evidence that Mr. Travis had any knowledge of the nature of

the firearm; instead, the evidence affirmatively shows that Mr. Travis believed the

weapon to be a semi-automatic firearm.

      Additionally, there is no evidence Mr. Travis knew the gun could be modified

into a machinegun. There was no machinegun trigger group installed on the MP-5

when the ATF agents handed the gun to Mr. Travis. There was no machinegun

trigger group in the tool box containing the guns. There is no evidence that there was

a machinegun trigger group anywhere in the warehouse where the exchange was

made. There is no evidence Mr. Travis possessed such a trigger group at his residence

or any location. Mr. Travis never suggested he had an interest in, access to, or intent

to find a machinegun trigger group. There was no discussion with the agents about

the potential to modify the weapon. Without any evidence suggesting that Mr. Travis

knew of the potentially convertible nature of the weapon, the application of the

enhanced base offense level is inappropriate.

          b.    The Application Notes to the Firearm Guidelines Indicate that
                Enhancements are Appropriate Only When a Conversion is Actually
                Performed or Can Imminently be Performed.

      The firearm guidelines assign base offense levels based on the nature of the

weapon itself and the individual’s background, with more dangerous weapons and

more serious criminal histories punished more severely. It is apparent that the

guidelines seek to punish machineguns more severely because they have the ability

to shoot more rounds more quickly, and are therefore more dangerous. But in this

case, it is uncontested that the weapon Mr. Travis handled could not fire



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automatically in the brief moments when he possessed it. The triggergroup on the

weapon only had options for the safe position and semi-automatic fire. On the date of

his arrest, there was a zero-percent probability that Mr. Travis could shoot the

weapon in fully-automatic mode. It therefore makes absolutely no sense to punish

Mr. Travis as though he had possession of a more dangerous weapon. By any practical

measure, the weapon he briefly held was not more dangerous than any other semi-

automatic weapon, which does not qualify as a “firearm” under 26 U.S.C. §5845(a).

      Additionally, the Court should also decline to apply the enhanced base offense

level on the grounds that there is no evidence that Mr. Travis could have readily

converted the weapon to a machinegun. The only way the MP-5 in question could

have fired automatically was if the possessor had access to a military-grade

triggergroup and the knowledge and skill to perform the modification. There is no

allegation that Mr. Travis had either.

      Other portions of 2K2.1 demonstrate that the Guidelines are not focused on

punishing the theoretical dangerousness of a weapon, but the actual, practical

dangerousness. As is relevant here, subsections 2K2.1(a)(1), 2K2.1(a)(3), and

2K2.1(a)(4)(B) increase the base offense level for a gun “capable of accepting a large

capacity magazine.” As noted above, although the plain language of the guideline

seems to indicate that only the theoretical possibility of accepting a high capacity

magazine is required to trigger the higher base offense level, the application notes

make it clear that it is the actual conduct, not the theoretical conduct, which is

punished. Application Note 2 states that the base offense level should only apply



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where “A) the firearm had attached to it a magazine or similar device that could

accept more than 15 rounds of ammunition; or (B) a magazine or similar device that

could accept more than 15 rounds of ammunition was in close proximity to the

firearm.” (Emphasis added.) Therefore, only when the possessor attached or

imminently could have attached an extended magazine is the conduct held to be more

severe, and therefore punished more severely. The Court should apply this same logic

to the concept of a machinegun. Only when there is evidence that an individual took

steps to modify the weapon to fire automatically should the enhanced base offense

level related to a machinegun apply.

      Applying the enhanced base offense level of 20 on the basis that the weapon

was a machinegun, as the government suggest, would be a perversion of the goals of

the guidelines.

          c.      Even if the Court Determines the Enhanced Base Offense Level May
                  Properly be Applied under the Guidelines, the Court Should Use its
                  Discretion to Sentence Mr. Travis as if the Weapon Was Not a
                  Machinegun,      Given   the    Agents’    Explicitly  Misleading
                  Representations.

      In the context of this case, applying the higher base level applicable to a

machinegun would essentially be condoning the affirmative efforts of the ATF agents

to mislead Mr. Travis. It was the agents who determined what kind of guns to present

to Mr. Travis; at no point did Mr. Travis ask the agents for a machinegun. In fact, the

agents offered the choice of a fully or semi-automatic MP-5 to Mr. Travis. The agent

specifically told Mr. Travis that the MP-5 he was showing Mr. Travis was a semi-

automatic weapon, not a fully-automatic weapon. See Agent Bodycamera, Aug 15,



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2018 at 16:39:00 (“One like that, that’s not full auto, it’s, you know, semi every time

you pull the trigger?”). The agent offered Mr. Travis the choice between the fully- and

semi-automatic versions, and Mr. Travis declined the fully automatic version,

explicitly electing the semi-automatic version of the MP-5. See Agent Bodycamera,

August 15 2018, at 16:39:15. It bears repeating that the agents explicitly told Mr.

Travis that the weapon was semi-automatic, not fully automatic.

      Further, there is no evidence that Mr. Travis had any knowledge that the semi-

automatic MP-5 could be converted to a machinegun by applying a new triggergroup,

nor did agents advertise that information to him. As noted above, Mr. Travis had no

familiarity with the weapon when the agents showed it to him, asking “what the [] is

this?” See Agent Bodycamera, August 15 2018, at 16:36:52. Mr. Travis had every

reason to believe that the gun provided by the agents was not a machinegun based

on their representations to him. Indeed, not only did Mr. Travis lack knowledge that

the MP-5 could be considered a machinegun, but the agents made representations to

Mr. Travis that led him to believe the gun he possessed was not a machinegun.

      There is absolutely no deterrent value to applying the heightened base offense

level to individuals who have no knowledge that the weapon they possess, through

manipulation, could be converted into a machinegun. In general, it is difficult to see

deterrence value in punishing aggravating circumstances of which a defendant was

not aware since he could not have corrected his conduct in deference to the particular

criminal law. Mr. Travis, by choosing the semi-automatic version of the gun,

demonstrated that he did not wish to possess the more dangerous machinegun. The



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agents’ attempted “gotcha” move of providing a gun that could technically be

manipulated into a machinegun to an individual with no knowledge of such capacity

offers no deterrent purpose.

   Additionally, the ATF and the government should not be permitted to change their

opinion of the character of an MP-5 when it suits them in order to manipulate the

Court into a higher sentence. Both the ATF and the DOJ have taken the position, on

the record, that MP-5s that do not shoot multiple rounds are not “fully automatic”

weapons. In the 1993 trial regarding the raid of the Branch Davidian compound in

Waco, Texas, numerous ATF agents testified that an MP-5 that could not shoot

multiple rounds was not a machinegun. See U.S. v. Brad Eugene Branch, et al., Crim.

No. W-93-CR-046 (W.D. Tex.), Transcript of Trial Proceedings includes the following

trial testimony of ATF Special Agents: Kevin Scott Richardson, MP-5 is a

semiautomatic (at 1987, 1993–94, 2025); Lowell Sprague, MP-5s shoot two rounds

with one pull of the trigger so they are only semiautomatics (at 2210–12); Kenneth

King, MP-5s are not full automatics (at 2588–9); Bill Buford, MP-5 is a semiautomatic

(at 2704, 2815); Kenneth Chisholm, no BATF agents had machine guns, even though

they had MP-5s (at 3152–53), excerpts attached as Exhibit A. In the appeal of the

trial verdict in the Fifth Circuit, the Department of Justice adopted this same

position, asserting in their brief that although the agents carried MP-5 weapons,

“none of the agents had fully automatic weapons.” (Excerpt attached as Exhibit B).

This testimony demonstrates that the government is fully aware that semi-automatic

MP-5s are not properly termed fully-automatic machineguns. The Court should



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decline to allow the government to selectively adopt different definitions of a

machinegun to suit their ends.

          3. Consideration of the Section 3553(a) Factors Counsels in Favor
             of a Sentence in Line with the Lower Base Offense Level.

      Even if the Court were to find that the enhanced base offense level technically

applies, whether as a result of a high-capacity magazine or the nature of the firearm,

the Court should still consider whether such a base offense level appropriately

reflects Mr. Travis’s level of culpability, given particularized facts of this case. Mr.

Travis does not argue that he should not be held accountable for his illegal possession

of a firearm. But when the degree of punishment is driven largely by the nature of

the firearm in question, and the nature of the firearm was chosen and made available

by the undercover officers, it is appropriate for the Court to consider whether that

heightened punishment accurately reflects Mr. Travis’s culpability, risk of

recidivism, and the need for incapacitation in this case.

      The ATF engages in sting operations in order to identify individuals disposed

to commit certain crimes and to intercept them before they have the opportunity to

do so. Mr. Travis concedes that this is a legitimate law enforcement practice. But the

question of the appropriate sentence for conduct resulting from such a law

enforcement operation becomes more complex when agents perform reverse-sting

operations that present an opportunity to defendants that otherwise would not have

occurred in the “real” world. See, e.g., United States v. Brown, 299 F.Supp.3d 976, 987

(N.D. Ill. 2018) and United States v. Paxton, No. 13 CR 0103, 2018 WL 4504160, at

*1 (N.D. Ill. Sept. 20, 2018) (discussing fictitious stash house robberies and the courts’

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questions whether the offenses would have occurred absent law enforcement

encouragement and facilitation). The guidelines, which rigidly measure the facts, are

distorted by the artificial intervention of the agents.

      The basic question here is, what crime would Xavier Travis have committed

but for the intervention of the agents? If other, civilian individuals he encountered

had offered him an opportunity to exchange drugs for guns, what would the outcome

have been? And in this case, the evidence indicates that the outcome would have been

different. The fact that his partners in the exchange were federal agents with access

to weapons generally unavailable on the streets has influenced Mr. Travis’s potential

sentence in manner that has nothing to do with the purposes of punishment as

enumerated by §3553(a).

      As noted above, the facts demonstrate that Mr. Travis had no intention of

seeking out a machinegun or a gun with a high-capacity magazine. Nothing in the

record demonstrates that Mr. Travis had ever handled or come across a machinegun

prior to meeting the agents. Indeed, although he displayed familiarity with

handguns, Mr. Travis had never seen an MP-5 before and had to ask the agents what

the gun was. This is clearly evidence that Mr. Travis did not have access to the type

of more serious guns the ATF was able to supply. Because he had never come across

such a gun before, and knew he was unlikely to find one again, Mr. Travis took the

opportunity to buy a rare item that he otherwise never would have had access to. The

idea that the agents “intercepted” a crime that could have taken place is belied by the

fact that, without their intervention, Mr. Travis could never have gotten access to



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such a weapon. The agents cannot truly disrupt a crime that had no practical chance

of occurring. To punish Mr. Travis on the idea that such a crime theoretically could

have occurred would be an inequitable result.

      Section 3553(a) holds that the Court should consider protection of the public

and deterrence in determining an appropriate sentence. To achieve these goals, the

Court must determine a defendant’s likelihood of reoffending, particularly the

likelihood of engaging in the type of behavior the individual faces sentencing for.

When the case before the sentencing court includes a degree of manipulated conduct,

such as manufactured access to an aggravated type of weapon, the question becomes:

will the individual commit the manipulated conduct again? Inherent in that question

is whether the same criminal opportunity will present itself again to the defendant.

For crimes involving opportunities manufactured by agents that would otherwise not

occur, the answer is almost certain to be no. Essentially, the public needs less

protection from an individual who has no means or motivation to access a

machinegun, and does not even know of the firearm’s capabilities. And a defendant

who had no demonstrated ability to access such a weapon in the first place need not

be subjected to an overly harsh sentence to be deterred from doing so again.

      In the case of reverse-stings, it is difficult to discern exactly what conduct

would have resulted but for the facilitation by law enforcement. But disregarding the

manipulative hand of law enforcement and rigidly applying the guidelines flies in the

face of Section 3553(a)’s mandate. Mr. Travis asks the Court, in its discretion, to




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consider all of the relevant facts in determining the appropriate measure of the base

offense level and the corresponding sentence.

       B. The 2K2.1(b)(6)(B) Enhancement.

       The PSR recommends a four-level enhancement under §2K2.1(b)(6)(B) for

possession of a gun in connection with another felony offense. Mr. Travis objects to

the probation office’s application of this enhancement.

       The Seventh Circuit recently defined the scope of § 2K2.1(b)(6)(B) in United

States v. Gates, 845 F.3d 310 (7th Cir. 2017). There, the Seventh Circuit held that §

2K2.1(b)(6)(B) did not apply in a case where the defendant merely received a gun as

collateral for a drug sale. Id. at 311.

       In reaching that conclusion, the Gates court emphasized that it was the

buyer—rather than the defendant—who first raised the possibility of using a gun as

collateral or payment for the drugs. Id. Under those circumstances, the Seventh

Circuit found that the government did not carry its burden to show that the Gates

defendant’s possession of the gun facilitated the drug offense, as required by the

Application Notes. Id. at 311–12; see also U.S.S.G. § 2K2.1(b)(6)(B), comment (n.14)

(setting out the “facilitating” requirement). The Seventh Circuit concluded that the

district court erred in applying the enhancement because “[t]here [wa]s no evidence

that had it not been for the collateral the defendant would have cancelled his

transaction with the buyer.” Gates, 845 F.3d at 312. As the Gates court put it, “we

don’t know whether, had the defendant not had the gun, he would have obtained some

substitute pawn from the buyer of the drugs from him, or if not would have trusted



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the buyer to pay him eventually—for he hadn’t asked the buyer to give him a gun as

collateral.” Id. at 311–12.

      The same is true here. As the government and the probation office

acknowledge, it was the undercover officer—not Mr. Travis—who first raised the

possibility of exchanging guns for drugs. Gov’t’s Version of the Offense at 2–3; PSR

at ¶¶ 10–11. While Mr. Travis ultimately agreed to the officer’s proposal, the

government cannot show that the guns facilitated a transaction that would not have

otherwise occurred. Instead, the evidence shows that Mr. Travis was simply looking

to exchange drugs for some item of value, whether that be cash, a television, or a gun.

Id. As in Gates, Mr. Travis’ possession of the gun “was thus as ‘dangerous’” as if it

“had instead been a Patek Philippe watch.” United States v. Gates, 845 F.3d 310, 311

(7th Cir. 2017).

      Those facts distinguish this case and Gates from earlier Seventh Circuit

decisions like United States v. Doody, 600 F.3d 752, 755 (7th Cir. 2010). In those

earlier decisions—which the Seventh Circuit expressly declined to follow in Gates—

the government was able to show that the offer of the firearm was necessary to induce

the drug transaction. See Doody, 600 F.3d at 756 (“unless Doody had been willing to

take possession of the gun in exchange for drugs, the transaction could not have taken

place”) (emphasis added); United States v. Schmitt, 770 F.3d 524, 540 (7th Cir. 2014)

(finding enhancement proper where defendant’s “entire purpose . . . was to purchase

the firearm”). Here, by contrast, the facts demonstrate that Mr. Travis was open to

alternate transactions that did not involve a firearm. Gov’t’s Version of the Offense



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at 2–2. As a result, the government has not established that Mr. Travis’ possession

of a firearm facilitated another felony offense and the § 2K2.1(b)(6)(B) enhancement

does not apply.

         C. Defendant’s Guideline Calculations

         It is Mr. Travis’s position that the weapon he possessed was not a machine

gun, did not involve a high capacity magazine, and that the gun was not used in the

course of a drug offense. If the Court agrees with only the argument regarding the

base offense level, the total offense level is 17 and the guideline range is 46-57

months. If the Court agrees with only the argument regarding the drug enhancement,

the total offense level is 19 and the guideline range is 57-71 months.

II.      ANALYSIS OF THE 3553(A) FACTORS.

         Although sentencing courts must correctly calculate the guidelines, they may

not presume that a guidelines sentence is the correct one, Nelson v. United States,

555 U.S. 350, 352 (2009), or even place “a thumb on the scale favoring a guideline

sentence,” United States v. Pennington, 667 F.3d 953, 958 (7th Cir. 2012) (internal

quotations omitted); see also Rita v. United States. 551 U.S. 338, 351 (2007)

(explaining that the district court judge “does not enjoy the benefit of a legal

presumption that the Guidelines sentence should apply”). A thorough examination of

the relevant factors in Mr. Travis’s case supports the defense’s request of a sentence

of 54 months.




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       A. Mr. Travis’s Life History Shows Him to Be a Young Man
          Overwhelmed with the Responsibility of Providing for His Family,
          and that Economic Struggles, Rather than a Propensity for
          Violence, Led Directly to this Offense, 18 U.S.C. § 3553(a)(1).

       The    Mitigation    Report    (“Report”)    submitted     concurrent    with    this

memorandum details the many struggles Xavier has faced in his young life. 4 The

devastating loss, want, and violence that Xavier experienced from a very early age

shows a pattern of instability and violence that dominated his developmental years.

Although Xavier describes periods of happiness and growth, it’s difficult to find a

consistent stretch of time in his history where one can conclude that Xavier felt safe

and provided for. The acute stress of his childhood clearly created in Xavier a

desperate desire to find stability. That very basic instinct drove Xavier to make the

poor choices that lead to his interactions with the criminal justice system.

       The overwhelming theme that comes through Xavier’s narrative is the

responsibility that Xavier was forced to shoulder early in life. His single mother

worked multiple jobs to support Xavier and his siblings, but the debt that crushed

the family meant that money was scarce. Xavier was acutely aware of their lack of

resources; he recalls feeling fear and shame that the other children at school could

smell him because he wore the same clothes for days in a row. He spoke of days that

the family skipped meals because there was no money for food. PSR ¶66. Xavier

recounts the fear he felt when he would home from school to find that the lights had

been turned off, or the electricity, or the gas. Report at 2. According to Xavier, the



4Due to the sensitive nature of the mitigation report, it will be submitted to chambers and
the parties under separate cover.
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family was perpetually on the edge of surviving. And although his mother was

exceptionally supportive and loving through these struggles, her multiple jobs kept

her from being physically present to watch over Xavier when he was young. The

dearth of resources and attention was a perfect storm: Xavier was desperate to

improve his circumstances, and as a young and immature teenager, had the space to

take advantage of all the wrong opportunities.

      In addition, Xavier’s physically violent father literally pursued the family to

repeatedly upend their security. Xavier’s mother moved the family states away to try

to create physical distance from her former partner, and when that failed, she moved

home to try to create safety in the form of her siblings who offered protection against

Xavier’s father. Report at 1. Both his father’s absence and his sudden, violent

presence contributed to the volatility of his childhood.

      Xavier’s father was not the only source of violence in his childhood. As the PSR

noted, in both Joliet and Georgia, Xavier’s family lived in housing projects afflicted

with gang violence and the drug trade. PSR ¶65. Xavier recalls that, as a child, he

often witnessed drug transactions and use, as well as extreme violence, including

murders. Id. He witnessed close friends and relatives die, including what amounted

to executions in front of his face. Report at 3.

      Through it all, Xavier struggled to stay on the right path. He fought against

the neighborhood influences and was able to focus on sports and school for much of

his early adolescence. Xavier dreamed of a career as an athlete, and his prowess on

the field earned him a scholarship to a private high school that Xavier saw as his way



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out of a life of struggles. But a tragic medical error brought his dreams to a halt.

Doctors misdiagnosed his rupture appendix and performed a spinal tap that ended

Xavier’s ability to play sports. Report at 4.

      The combination of the depression at having his dream ripped away and the

stress of having created a further financial burden with his medical problem created

a desperation in Xavier. He had always felt a strong, instinctual need to take care of

his family in the way his father never did, and at the age of 12, Xavier decided to act

on that instinct. One day after he came home to find both the lights and the heat off

in the house, and his mother crying, Xavier decided to try to take matters into his

own hands. Report at 5. He ventured out into life in the streets as a young teenager

not because he thought the lifestyle was glamorous, but out of a desire to provide

basic necessities for his family. Xavier did not get involved in the drug trade in order

to buy himself luxuries or flashy clothes; he sold drugs to pay the family’s bills. In the

neighborhoods where he lived, it was the financial opportunity he saw modelled for

him, and he mimicked the path that was normalized to him.

      Xavier’s association with the streets predictably led to trouble. In 2012, Xavier

spent a little over two years in the Illinois Department of Corrections, the longest

term he has ever served. He missed the birth of his first son while in custody, which

he regrets that immensely. Upon his release, the mother of his child dropped the

toddler off and never returned. Report at 7. Since that day, Xavier has been the

primary guardian of his son. Xavier explains that being a father turned his life

around. He stopped selling drugs and found a job first at Caterpillar, driving a



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forklift, and then at a series of factories doing similar work. Although he stumbled

with arrests for traffic-related incidents, Xavier largely managed to stay away from

the street lifestyle that took him away from his family. PSR ¶45-49. His son’s birth

also encouraged Xavier to try to reconnect with his own father, and to find forgiveness

for his father’s sins and shortcomings. Xavier made an effort to integrate himself into

his father’s new family, becoming an uncle to the young boys. Tragically, in 2016,

Xavier’s father was shot and killed.

      In the time leading up to his arrest in 2018, Xavier was trying to right his path.

He was in a supportive, loving relationship with a woman who he viewed as his equal

partner. He had full custody of his young son and had taken on the responsibility of

providing for his father’s young children. Xavier got a job doing construction work

and tried to work as many hours as possible to provide for his extended family. But

sadly, Xavier’s efforts weren’t enough to the keep the family afloat. Xavier’s job paid

minimum wage and he was unable to pick up overtime shifts to increase his hours

because his access to transportation was limited due to his lack of a license. Faced

with the weight of providing food for so many hungry mouths, buying school clothes

for nine growing children, paying rent for his own house and trying to help his

mother, Xavier turned back to making extra money on the streets. He caught the eye

of the ATF agents and made the biggest mistake of his young life.

      None of Xavier’s encounters with the law were as a result of a desire to engage

in violence or be a part of a dangerous gang. Both the PSR and the Report confirm

this. PSR ¶73; Report at 11, n.3. The extreme poverty of his childhood motivated him



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to seek stability and safety, but the road from the projects to those goals wasn’t easy.

Eventually, the weight of the responsibility Xavier shouldered by trying to take care

of his family overwhelmed him, and he tried to supplement his paycheck with money

from the streets.

       B. Mr. Travis’s Solid Plan for Stability Upon Release Significantly
          Reduces his Risk of Recidivism, 18 U.S.C. § 3553(a)(2)(c).
       Much of Xavier’s interactions with law enforcement over the years have come

as a result of his economic situation, whether directly or indirectly. But upon his

release from federal custody, Xavier and his family have a concrete plan to keep him

on a productive path and out of the street economy.

    In the past few years, Xavier’s brother Clark has begun building his own trucking

company. He is fortunate to have experienced a great degree of success, and plans to

expand his business over the next few years. As noted in his letter to the Court, he

has committed to providing Xavier with a job upon his release, whether in Memphis

or elsewhere.5 As the Court is aware, driving with a commercial driver’s license can

be a lucrative job, and is an industry open to individuals with criminal histories.

Clark’s entrepreneurial drive has translated into a significant opportunity for Xavier.

    In addition, Clark is willing to offer Xavier a home away from the community that

has caused so much pain in his life. The opportunity to live with his brother in a new

city offers a fresh start for Xavier and a level of support that he has never had before.

Xavier is lucky enough to have custody of his son, and an excellent relationship with




5Letters to the Court from Mr. Travis’s family and supporters will be provided to the Court
and parties under separate cover.
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the mother of his daughter, such that his family is willing to move with him to ensure

Xavier’s success and the success of their family as a whole. Report at 13.

   The opportunities in front of Xavier offer much-needed stability – both financial

and familial. His family’s support is critical to Xavier’s success going forward, but the

most important element of the equation is Xavier’s own recognition of what it will

take to successfully commit to being a contributing member of the community and a

law-abiding citizen. Xavier’s reflections, as documented in the Mitigation Report,

show an understanding of the mistakes he has made and the corrections he needs to

make to address the poor decision-making and impulses that have led him to this

point. Xavier’s primary motivation going forward is to provide for his family in a

manner that keeps him present in their lives.

      C. Mr. Travis’s Traffic-Related Convictions Have Led to an Inflation of
         the Seriousness of his Criminal Background, 18 U.S.C. § 3553(a)(1).

      The PSR reflects Mr. Travis’s contacts with law enforcement over the years

and correctly calculated a criminal history score of ten points, resulting in Mr.

Travis’s placement in CHC V. Three of those criminal history points, however, are

the result of convictions for driving on a suspended or revoked license. PSR ¶¶ 46, 49.

These convictions are responsible for elevating Mr. Travis from CHC IV to CHC V

and increasing the bottom of the guideline range by nearly ten months.

      Although convictions for driving without a license do properly count under the

guidelines and show a failure to abide by traffic laws, they are not the type of

convictions that are necessarily indicative of Mr. Travis’s propensity for recidivism or

the need to protect the public from future crimes. Typically, pursuant to Guideline

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4A1.2(c)(1), convictions for driving without a license do not receive criminal history

points because they are misdemeanors with little relevance to the sentencing factors.

Only convictions that resulted in sentences over 30 days are counted. See §4A1.2(c)(1).

      In the case of Mr. Travis’s 2017 conviction, PSR ¶49, the judgment shows that

Mr. Travis was given a sentence of 30 days’ time considered served and conditional

discharge. The time “considered served” appears not to be time he actually did on the

traffic violation, but rather time Mr. Travis served in IDOC on an unrelated 2016

conviction. The court therefore imposed no actual additional time on Mr. Travis and

just a term of conditional discharge. The length of that custodial sentence was

therefore somewhat arbitrary, and had the judge ordered 29 days’ credit, the

conviction would not count for criminal history points. In a practical sense, this

conviction does little to inform the Court about Mr. Travis’s projected likelihood to

commit future crimes, yet it shifts Mr. Travis into CHC V. This overly technical

application of the guidelines suggests a sentence that is greater than necessary to

accomplish deterrence for Xavier. More holistic view of Xavier’s history would place

him in CHC IV.

      Additionally, the equities in counting these types of convictions are in dispute

because studies have shown that there are dramatic racial disparities in driver’s

license suspensions and arrests related to unpaid traffic fines and fees. See, e.g.,

Lawyer’s Committee for Civil Rights of the San Francisco Bay Area, Stopped, Fined,

Arrested: Racial Bias in Policing and Traffic Courts in California (April 2016)

available at: https://ebclc.org/backontheroad/problem/ (finding that driver’s licenses



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are too frequently suspended for reasons unrelated to protecting public safety, often

imposing detrimental consequences on those living in poverty). Recently, Governor

Pritzker signed the “License to Work Act” into law in Illinois, which eliminates

driver's license suspensions for most non-moving violations. The Act recognizes that

license suspensions for unpaid fines reinforce a cycle of instability and unnecessarily

punish individuals who are already in under-resourced. See Associated Press, Illinois

law eliminates license suspension for non-moving violations, available at: https://jg-

tc.com/news/state-and-regional/govt-and-politics/illinois-law-eliminates-license-

suspension-for-non-moving-violations/article_65b554d8-f1fa-5831-86d7-

9105684fd19b.html; see also License to Work Illinois, https://www.license2work.org/.

Mr. Travis contends that he falls into this group. Although his license was initially

suspended as a result of moving violation, Mr. Travis was unable to reinstate his

license for year due to the extremely high cost of the related fees. These convictions

are therefore more reflective of his financial condition than his risk of recidivism, and

the Court should decline to allow them to inflate Mr. Travis’s sentence.

      D. The Requested Sentence is By Far the Longest Xavier Has Served,
         and Appropriately Reflects the Seriousness of the Offense and
         Provides Just Punishment, 18 U.S.C. § 3553(a)(2)(a).

   The sentence proposed by the defense is sufficient, but not greater than necessary,

to promote the 3553(a) goals of sentencing. Possession of firearms is a serious offense,

and the defense has suggested a serious, within-guideline sentence of 54 months. The

longest period of time Xavier has spent in custody was roughly two years and three

months, as a result of his 2012 conviction. The requested sentence is double that term



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to reflect the seriousness of this offense, provide a greater degree of deterrence, and

punish the conduct as equitably measured by the guidelines.

   III.   PROPOSED CONDITIONS OF SUPERVISED RELEASE

   In the PSR, the Probation Office recommends fairly standard conditions of

supervised release. For the most part, the proposed conditions appear to be supported

by the facts and circumstances of this case, and do not seem to be more burdensome

than necessary. With the exception of the condition outlined below, the defense has

no objection to the proposed conditions:

   • Special Condition #1 – As the supplement to the PSR noted, Mr. Travis has his

GED. Therefore, this condition is unnecessary.

   • Special Condition #3 – This condition requests that Mr. Travis perform at least

20 hours of community service a week if he is not employed within 60 days of release.

Mr. Travis notes that searching for and applying for jobs is often a time-consuming

process, and that Special Condition #2 requires him to participate in a job skill-

training program in that first 60 days as well. To the extent that the community

service hours requirement interferes with Mr. Travis’s ability to look for gainful

employment, this condition should not be imposed.

   • Special Condition #13 – This condition requires Mr. Travis to observe a reentry

court session. In counsel’s experience, reentry court serves the needs of those

struggling with the conditions of supervised release. There is no indication Mr. Travis

requires the structure of reentry court, and observation of a session may take him




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away from a workday. The condition may be appropriate if Mr. Travis demonstrates

difficulty while on supervised release, but should not be imposed at this juncture.

                                    CONCLUSION

      Mr. Travis understands that his crime was serious. He knows that there is

nothing he can say to excuse his actions, but he is focused on serving his time and

moving on to a new future, ripe with opportunity. He asks the Court to consider the

Supreme Court’s logic in Gall, where the Court reasoned that respect for the law is

promoted when harsh punishment is tempered by consideration of an offender’s

character and personal history, in addition to the specific characteristics of the case

at hand. See 552 U.S. at 54.

      Wherefore, based on the sentencing factors and arguments set forth above,

Xavier Travis respectfully requests that this Court impose a sentence of 54 months’

custody.

                                               Respectfully submitted,

                                               FEDERAL DEFENDER PROGRAM
                                               John F. Murphy,
                                               Executive Director

                                        By:    s/ Amanda G. Penabad
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weapons does not show that the agents used "excessive force. ,,2'

Moreover, in addition to executing an arrest warrant for Koresh,

the agents were executing a search warrant that had been issued

based on probable cause to believe that illegal firearms were

located within the compound.         TR. 1274, 1630, 3041-42; GX 1906 &

2050.    Given the size of the compound and the number of residents

believed to be inside who might have access to the illegal weapons,
the use of 76 agents to execute the warrants was hardly excessive

or unreasonable.     Indeed, Agent Gerald Petrilli testified that the

number of agents used to execute the warrants at the Mt. Carmel

compound was proportionally less than the number of agents typical-

ly used to execute warrants for smaller residences.              TR. 2344-46.

        Even if there were some evidence to show that defendants

reasonably believed that the amount of force used by the ATF agents
in executing the warrants was "excessive," defendants would not be
entitled to a j·ury instruction on an "excessive force" theory of

self-defense unless there was also evidence showing that they used


     2' The evidence at trial showed that the agents carried the
standard variety of weapons used for the execution of warrants.
TR. 1277-78, 1446-49, 1456-57, 1883-86, 1938, 2373-74, 2998-99.
All the agents carried their Sig-sauer 9 millimeter pistols loaded
with hydroshock ammunition.     TR. 1230-36, 1278, 1536, 1619-20,
1803-04, 1845, 1938, 1993, 2049-50, 2059, 2130, 2317, 2379-80,
2399-2400, 2542, 2588, 2642, 2688, 2743-44, 2830, 2834, 2869-70,
2902, 2969, 3005-06, 3118-19.    Some agents also had . 38 caliber ·
revolvers.    TR. 1278, 1938, 2317-18.      Several agents carried
shotguns. TR. 1278, 2114, 2191-92, 2130, 2375-76, 2588, 3118. six
agents had AR-15 semiautomatic assault rifles. TR . 1619-20, 1701,
1748, 1843-44, 1856. Several agents had MP-5 shoulder weapons that
fired in two - round bursts and used the same ammunition as the 9
millimeter pistols. TR. 1855-56, 1993, 2025-29, 2033-33, 2049-50,
2210-11, 2223-24, 2395, 2588-89, 2704, 2815-16, 2828-30, 3118,
3142, 3152-53.    None of the agents had fully automatic weapons.
TR. 2068, 2211, 3116, 3130, 3142 , 3152-53.

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states v. Jackson, 978 F . 2d 903,915 (5th Cir . 1992), cert . denied,

113 S . ct. 2429 (1993).      Accordingly, this case should be remanded

to the district court with directions to vacate the restitution

order.        At the same time, this Court should direct the district

court to reconsider its earlier ruling at sentencing that 18 U.S.C.

3681     is   unconstitutional   in   order   to   provide    the   parties    an

opportunity to address that issue .

                                  CONCLUSION

       For the foregoing reasons, the judgments of conviction and the

sentences should be affirmed, but the case should be remanded to

the district court with directions to vacate the restitution order.

       Respectfully submitted.


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                                        U.S. Department of Justice
                                        Washington, D.C .




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